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IN THE UNITED STATES DISTRICT COURT :
FOR THE NORTHERN DISTRICT OF TEXAS COU DEC 1h PM 1:07

  

FORT WORTH DIVISION
DEPUYY CLERK.
UNITED STATES OF AMERICA me
Vv. No.
LACIE REBEKAH WHISENANT (01) En
HAI MINH BUL (02) 4 22CR-371-0
INDICTMENT
The Grand Jury Charges:
Count One

Conspiracy to Possess with Intent to Distribute a Controiled Substance
(Violation of 21 U.S.C. § 846)

In and around November 2022, in the Fort Worth Division of the Northern District
of Texas, and elsewhere, defendants Lacie Rebekah Whisenant and Hai Minh Bui,
along with others known and unknown, did knowingly and intentionally combine,
conspire, confederate, and agree to engage in conduct in violation of 21 U.S.C. §§

841 (a)(1) and (b){1)(A), namely to possess with intent to distribute 500 grams or more of
a mixture or substance containing a detectable amount of methamphetamine, a Schedule
II controlled substance.

In violation of 21 U.S.C. § 846 (21 U.S.C. §§ 841(a)(1) and (b)(1)(A)).

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Forfeiture Notice
(21 U.S.C. § 853)

Pursuant to 21 U.S.C. § 853(a), upon conviction of Count One, the defendants

shall forfeit to the United States any property constituting, or derived from, any proceeds

the defendant obtained, directly or indirectly, as a result of Count One, and any of the

defendant’s property used, or intended to be used, in any manner or part, to commit, or to

facilitate the commission of Count One.

The government may seek a forfeiture money judgment.

The government may seek forfeiture of substitute property as allowed by 21

U.S.C. § 853(p).

LEIGHA SIMONTON

   

   

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Facsimile: 817-252-5455

indictment - Page 2

A TRUE BILL.

 
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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
FORT WORTH DIVISION

 

THE UNITED STATES OF AMERICA

V.

LACIE REBEKAH WHISENANT (01)
HAI MINH BUI (02)

 

INDICTMENT

21 ULS.C. § 846 (21 U.S.C. §§ 841 (a)C1) and (b)(1)(A))
Conspiracy to Possess with Intent to Distribute a Controlled Substance
Count |

 

A true bill rendered

FORT WORTH fiwal v i

 

Filed in open court this 14th day of December, 2022.

 

Defendants in Federal Custody since November 17, 2022.

 

   

      

UNITED STATES MAGISTRATE JUDGE
Magistrate Court Number: 4:22-MJ-930-BP
